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                                                                                6/23/2023 9:14 am
                            UNITED STATES DISTRICT COURT
                                                                                 U.S. DISTRICT COURT
                            E A S T E R N D I S T R I C T O F N E W Y O R K EASTERN DISTRICT OF NEW YORK
                                                                                    LONG ISLAND OFFICE
        ------------------------------X                   Docket#
        UNITED STATES OF AMERICA,     :                   23-cr-00197(JS)(AYS)
                                      :
                                      :
             - versus -               :                   U.S. Courthouse
                                      :                   Central Islip, New York
        GEORGE DEVOLDER SANTOS,       :
                                      :                   May 15, 2023
                        Defendant     :                   10:44 a.m.
        ------------------------------X

                 TRANSCRIPT OF CRIMINAL CAUSE FOR BOND HEARING
                     BEFORE THE HONORABLE ANNE Y. SHIELDS
                        UNITED STATES MAGISTRATE JUDGE
                                 * SEALED PROCEEDINGS *


        A    P     P    E       A     R      A      N     C     E      S:



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                                                 United States Attorney


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   1             (Audio began with proceedings in progress)

   2     (No appearances given so no voice recognition as to who

   3   was speaking except for the judge)

   4               THE COURT:      Okay.    So the reason you're here to

   5   sign this bond on behalf of your son and your aunt is

   6   because we want to make sure that he abides by all of the

   7   terms and in signing it I want to make sure that you two
   8   understand that this makes you responsible for him

   9   complying with all of the terms.

 10                So I want to hear a little bit about you and

 11    your relationship with Mr. Santos, so we'll start with

 12    you.   If you could just say your name, tell me your

 13    relationship with him, where you live, how often you see

 14    him.

 15                MR. SANTOS:      I'm Arsenio Santos.        I'm George

 16    Anthony father.      And he does not live with me.           I see him

 17    I'd say every 45, 50 days.          We don't see enough.
 18                THE COURT:      How would you describe your

 19    relationship with him?

 20                MR. SANTOS:      It's cordial.      It's not

 21    problematic at all.       I mean we're just not together all

 22    the time but when we do get together, it's like between

 23    father and son, a normal relationship.

 24                THE COURT:      Do you speak with him often?

 25                MR. SANTOS:      Not -- lately, yes, but in the




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   1   past not as much.

   2               THE COURT:      Okay.    So are you comfortable

   3   checking in with him, knowing about his court appearances

   4   to make sure that he's doing everything that we say he

   5   needs to do?

   6               MR. SANTOS:      That I do, yes.

   7               THE COURT:      Okay.    And I also want you to
   8   understand that this is a bond that allows him to be out.

   9   Right?    So sometimes people don't get bond for one reason

 10    or another and they have to be incarcerated before a

 11    trial.    This is a bond letting Mr. Santos out until the

 12    trial.    Okay?

 13                There's a danger if he doesn't comply with any

 14    of the conditions of bond.          First of all, it's a danger

 15    to him.    He will and can be incarcerated.           But more

 16    importantly for you two, you're signing a bond that makes

 17    you two financially responsible.           So it's not just about
 18    feeling badly about it.        This is a bond in the amount of

 19    $500,000.

 20                MR. SANTOS:      We understand that, yes.

 21                THE COURT:      All right?     So you don't own a

 22    home.    Neither of you owns a home or any property that

 23    you could put up against this.          Am I right?       That's what

 24    my understanding is.

 25                MR. SANTOS:      Yeah.




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   1                THE COURT:     All right.

   2                MR. SANTOS:     Yes.

   3                THE COURT:     So that doesn't mean that this

   4   isn't important.      It doesn't mean that oh, I won't have

   5   the money, no big deal.

   6                MR. SANTOS:     No.

   7                THE COURT:     This could go against your credit
   8   rating, your ability to get a mortgage.             You'd owe that

   9   money to the government.         So I want to make sure that you

 10    both understand that.        And I'll ask --

 11                 MR. SANTOS:     I do.    We do understand that, yes.

 12                 THE COURT:     Okay.    All right.     So I want to go

 13    over, before we get to you, I want to go over the terms

 14    of the bond so you know what's required of him.

 15                 UNIDENTIFIED SPEAKER:        They have a copy so they

 16    can follow along, Judge.

 17                 THE COURT:     Okay.    So if you take a look at it,
 18    you'll see he's out on a bond.          You'll see the amount

 19    which is $500,000.       If you go down to number seven you'll

 20    see a check mark.       He has to submit to Pretrial.          So

 21    those are the people who are supervising him while he's

 22    out.   They may call him in for an interview.             They don't

 23    have to give him notice.         Whatever they tell him to do,

 24    where they tell him to go, he's got to comply with that.

 25    All right?




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   1               He does not have his passport.           He may not

   2   apply for a passport.        Here's a really important part and

   3   it talks about travel restrictions.            We understand he

   4   works in Washington, he lives in New York.

   5               MR. SANTOS:      New York.

   6               THE COURT:      He's allowed to travel between New

   7   York and Washington.        That he's allowed to do.         He is not
   8   allowed to travel anywhere else without prior permission.

   9   So you might want to call him from time to time and say

 10    hey, are you going to be in town?           Tell me where you're

 11    going to be.     So I would advise both of you to give him a

 12    call and say, this is on your behalf, let me know if

 13    you're going to be traveling.

 14                MR. SANTOS:      Yeah, yeah.

 15                THE COURT:      He knows I told him that he has to

 16    have permission from the Court to travel or permission of

 17    Pretrial Services.       So I know his counsel said he might
 18    be traveling or of a need to travel.            If he does, he has

 19    to get permission.       If he gets permission, I want him,

 20    and I'm going to tell the lawyer too, to let you two

 21    know.

 22                MR. SANTOS:      Yeah.

 23                THE COURT:      He needs to keep you in the loop as

 24    to where he is, where he will be at all times.

 25                His next appearance date right now is June




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   1   30th.    That's in this courthouse.

   2               MR. SANTOS:      Yeah, we're aware of that.

   3               THE COURT:      Right?    So it's not before me, it's

   4   before another judge right now.           That is an in person

   5   appearance I believe.

   6               UNIDENTIFIED SPEAKER:         Yes.

   7               UNIDENTIFIED SPEAKER:         Yes.
   8               THE COURT:      So he'll be traveling here.          So you

   9   know, check in with him.         Make sure you know where he is

 10    because by signing this, this is a serious matter.

 11    You're responsible for knowing where he is.

 12                There are individuals he's not supposed to have

 13    contact with.      Is that a matter -- I don't have them on

 14    the bond but that's a matter --

 15                UNIDENTIFIED SPEAKER:         It was provided to me.

 16    I have the four names.

 17                THE COURT:      Okay.
 18                UNIDENTIFIED SPEAKER:         And if there are more

 19    that are added, let me know.          He's already been advised,

 20    Judge, just for the record, one of them contacted him

 21    when he left the court.

 22                THE COURT:      Okay.

 23                UNIDENTIFIED SPEAKER:         He did not answer the

 24    phone.

 25                THE COURT:      Okay.




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   1                UNIDENTIFIED SPEAKER:        A screen shot, I sent it

   2   to the government, and just to ask them could you reach

   3   out to him and tell him not to call George?

   4                THE COURT:     Okay.

   5                UNIDENTIFIED SPEAKER:        So he's 100 percent

   6   compliant.

   7                THE COURT:     Okay.    Good.    All right.     So let me
   8   get, you're his aunt, let me get your name and your

   9   address on the record.

 10                 MS. BREVIN:     My name is (indiscernible)

 11    Dossantos Brevin (phonetic).          (Redacted).

 12                 THE COURT:     Okay.    And how would you describe

 13    your relationship with Mr. Santos?

 14                 MS. BREVIN:     His aunt.     It's a good

 15    relationship even though I don't speak with him on a

 16    regular basis.

 17                 THE COURT:     Okay.
 18                 MS. BREVIN:     Only when he come to New York he

 19    stop by to check me out, see how I'm doing very briefly.

 20                 THE COURT:     Okay.    Good.    All right.     But you

 21    check in with him?       He doesn't call you?

 22                 MS. BREVIN:     Yeah, I check how you doing?

 23                 THE COURT:     Okay.    And what about employment?

 24    Are you employed?

 25                 UNIDENTIFIED SPEAKER:        (Redacted).




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   1               THE COURT:      (Redacted).

   2               MS. BREVIN:      Yes.

   3               THE COURT:      (Redacted).

   4               MS. BREVIN:      (Redacted).

   5               THE COURT:      Okay.    So that's fine.      You don't

   6   want to put any of that at risk.

   7               MS. BREVIN:      No, ma'am.
   8               THE COURT:      And I don't believe I got your

   9   address.    If you could just put that on there?

 10                MR. SANTOS:      (Redacted).

 11                THE COURT:      (Redacted).

 12                UNIDENTIFIED SPEAKER:         This is all going to

 13    bring us closer together which I was telling them about

 14    when I showed them the bond, you know, the different

 15    conditions, so --

 16                MR. SANTOS:      What would happen to him if he get

 17    caught traveling at areas that he's not allowed to?
 18                THE COURT:      He would be -- there would be a

 19    warrant for his arrest.

 20                MR. SANTOS:      (Indiscernible).

 21                UNIDENTIFIED SPEAKER:         Just so you know, as we

 22    told the Court, he's announced his reelection.               He's not

 23    going out vacationing.        If he's leaving the jurisdiction,

 24    it would be for that legitimate purpose of --

 25                MR. SANTOS:      But he's got to get an




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   1   authorization for that.

   2                THE COURT:     Yes, yes.

   3                MR. SANTOS:     Pretrial Services.

   4                THE COURT:     He certainly is not authorized to

   5   leave this country.

   6                MR. SANTOS:     (Indiscernible) make sure he

   7   understands that.
   8                UNIDENTIFIED SPEAKER:        Yeah.    No --

   9                THE COURT:     Yes.   No, good question.

 10                 UNIDENTIFIED SPEAKER:        -- he's taking this very

 11    seriously.

 12                 THE COURT:     Good question.

 13                 UNIDENTIFIED SPEAKER:        Good question.

 14                 MS. BREVIN:     Make sure we stay on the line.

 15                 THE COURT:     Exactly.     No one's arresting you

 16    but you're responsible on that dollar amount.               This is

 17    why we ask people to come in.          You know, it's not always
 18    about money.     It's about how well you know someone,

 19    whether you can exercise a certain amount of control or

 20    moral control over the person so that they understand

 21    what you are doing for them.          And I'd advise you to give

 22    him a call today.       Tell him you came in.        You signed it.

 23    You're watching.

 24                 MR. SANTOS:     So when he's driving from

 25    Washington to New York, he's allowed to go to --




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   1                THE COURT:     Yes.

   2                MR. SANTOS:      -- path of states that --

   3                THE COURT:     Yes.

   4                MR. SANTOS:      And nothing else.

   5                THE COURT:     Correct.

   6                UNIDENTIFIED SPEAKER:         Correct.    But as his

   7   lawyer said in court the other day, we understand he's
   8   running for reelection.         We understand that his business

   9   may take him in other places.           And there's an entire

  10   department of people at Pretrial Services whose job it is

  11   to communicate with people in George's position about

  12   where they're going to be and where they're going to be

  13   staying, things like that.

  14                As long as George keeps in touch with those

  15   people and with his lawyer, I don't see any reason why he

  16   wouldn't be given the green light to go about his

  17   business which would never make these circumstances about
  18   an arrest come up.

  19                THE COURT:     Right.    Right.

  20                UNIDENTIFIED SPEAKER:         One thing I just wanted

  21   to add --

  22                THE COURT:     But let him -- you know, if he

  23   calls you and says I'm going out of town --

  24                MR. SANTOS:      Where you're going to be at?

  25                THE COURT:     -- you might want to say did you




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   1   get permission?

   2                MR. SANTOS:      Exactly.

   3                UNIDENTIFIED SPEAKER:         Yeah.

   4                THE COURT:     Right?

   5                MR. SANTOS:      Absolutely.

   6                UNIDENTIFIED SPEAKER:         One thing I wanted to

   7   add to both of you because of my not being familiar so
   8   much with DC, I understand it's a very, very small

   9   district.     I mean it's like a couple of square miles that

  10   he would be restricted to and it's not uncommon,

  11   especially when you're running for election --

  12                MR. SANTOS:      (Indiscernible).

  13                UNIDENTIFIED SPEAKER:         -- where someone will

  14   say oh, we have an event right here or there.               So I told

  15   him, I said look, this is all new to all of us.               Operate

  16   under the way you're operating now.            If it's so egregious

  17   that we need to expand that or something, I'm sure I can
  18   go to the government.        Everyone has been so reasonable

  19   and they don't want to --

  20                THE COURT:     I think what I said to him is

  21   always ask first.

  22                UNIDENTIFIED SPEAKER:         Yes.

  23                THE COURT:     It doesn't hurt to ask.

  24                UNIDENTIFIED SPEAKER:         Nobody here has any

  25   intent to impede on his ability to run for office.




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   1                UNIDENTIFIED SPEAKER:         Or to get him in any

   2   more trouble than he's in.          My goal is not to trick him

   3   into crossing state lines so that I can arrest him.                 Our

   4   goal is -- you know, and these conditions can always be

   5   modified if necessary.         His lawyer can make an

   6   application to the judge and we can change them if it

   7   turns out that they're onerous or he's having a hard
   8   time.

   9                For your purposes, since you're putting your

  10   own financial situation and your own reputation at stake,

  11   it's important for you to hear from me our goal is not to

  12   trick him or to trap him, or to lure him somewhere so

  13   that we can get him into trouble.            We're all agreeing

  14   that he should be allowed to go about his business with

  15   some minor supervision.

  16                THE COURT:     That's exactly correct.         This is

  17   about making sure he comes here when he has to for this
  18   case.    That's what this is about.          And I'm glad you said

  19   that.    It's not a game of gotcha.          You're here so you

  20   understand the importance of that.            And it's serious when

  21   you sign something.        It's very serious.       That's why we

  22   asked you to come in.

  23                Do you have anything else you want me to put on

  24   the record?

  25                UNIDENTIFIED SPEAKER:         I don't.    Thank you.




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   1                THE COURT:       Anything else, counsel?

   2                UNIDENTIFIED SPEAKER:          No, your Honor.     Thank

   3   you.

   4                THE COURT:       All right.    So I'm going to leave

   5   you the bond.      You'll notice George signed it over there.

   6   Here's a place for suretors.          So you two sign there.

   7   You'll put your addresses in there.            We'll date it.       This
   8   will not go on the record.          If anything is on the record,

   9   we will Wite-Out your personal information, so we

  10   specifically have never said your names on the record.

  11   All right?

  12                MR. SANTOS:       Thank you.

  13                THE COURT:       And that's the order.       So if I need

  14   to put that on the record now, I'm going to order the

  15   record of these proceedings to be sealed upon application

  16   of defense counsel.          No opposition for the government.

  17   And I find that it's necessary --
  18                MR. SANTOS:       Thank you.

  19                THE COURT:       -- to protect these individuals.

  20                UNIDENTIFIED SPEAKER:          I'll give you copies.

  21                THE COURT:       All right?    I think we can go off

  22   the record now.       Yes.

  23                UNIDENTIFIED SPEAKER:          Thank you, Judge.

  24                UNIDENTIFIED SPEAKER:          Thank you, Judge.

  25                THE COURT:       All right.    Thank you.     Thank you




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   1   for being here.

   2                MR. SANTOS:      Thank you.

   3                THE COURT:     Have a good day.

   4                UNIDENTIFIED SPEAKER:         Thank you, Judge.       You

   5   as well.

   6                UNIDENTIFIED SPEAKER:         Thank you.

   7                             (Matter concluded)
   8                                     -oOo-

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                    C     E     R   T   I    F    I   C    A    T    E



                        I, MARY GRECO, hereby certify that the

         foregoing transcript of the said proceedings is a true

         and accurate transcript from the electronic sound-

         recording of the proceedings reduced to typewriting in

         the above-entitled matter.


                        I FURTHER CERTIFY that I am not a relative or

         employee or attorney or counsel of any of the parties,

         nor a relative or employee of such attorney or counsel,

         or financially interested directly or indirectly in

         this action.



                        IN WITNESS WHEREOF, I hereunto set my hand

         this 9th day of June, 2023.




                                            Transcriptions Plus II, Inc.




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